429 F.2d 429
    UNITED STATES of America ex rel. Felix COMACHO, Petitioner-Appellant,v.Harold W. FOLLETTE, Warden, Green Haven State Prison,Stormville, New York, Respondent-Appellee.
    No. 931, Docket 33667.
    United States Court of Appeals, Second Circuit.
    Sept. 1, 1970.
    
      Before FRIENDLY, SMITH and ANDERSON, Circuit Judges.
      On remand from the United States Supreme Court.
      PER CURIAM:
    
    
      1
      A judgment denying appellant's petition for a writ of habeas corpus was reversed by this court on February 2, 1970, 421 F.2d 822, and remanded to the Southern District of New York for further proceedings.  Subsequently the Supreme Court of the United States, 398 U.S. 279, 90 S.Ct. 1728, 26 L.Ed.2d 231, granted certiorari and after considering the case vacated the judgment of this court and remanded the case for further consideration in the light of McMann v. Richardson, 397 U.S. 759, 90 S.Ct. 1441, 25 L.Ed.2d 763 (1970).  In compliance therewith the judgment of this court and the mandate issued pursuant to it were vacated on June 29, 1970.
    
    
      2
      The judgment of the District Court in this case is hereby affirmed.
    
    